Case 2:22-cv-00149-DAK-DBP Document 2-5 Filed 03/04/22 PageID.51 Page 1 of 6




                               EXHIBIT D
                                 Footnote 11
 NBC News: “Dr. Fauci on CDC mask guidelines: ‘We are dealing with a different
                              virus now’”
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    This 33-year-old left the U.S. for Bali and lives                             This mom quit to work on her eBay side hustle     What it ta
    on $2,233 a month                                                             —and made $141 million in one year                painting r


     H E A LT H A N D W E L L N E S S


     Dr. Fauci on CDC mask guidelines: ‘We are dealing
     with a different virus now’
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               Cory Stieg
               @ C O RYST I EG



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    Dr. Anthony Fauci, Director of the National Institute of Allergy and Infectious Diseases, testifies at a Senate
    Health, Education, Labor, and Pensions Committee hearing at the Dirksen Senate Office Building on July
    20, 2021 in Washington, DC. Stefani Reynolds | Getty Images



    “We are dealing with a different virus now.”


https://www.cnbc.com/2021/07/28/dr-fauci-on-why-cdc-changed-guidelines-delta-is-a-different-virus.html                                     1/5
3/1/22, 2:00Case
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    That’s what Dr. Anthony Fauci, White House chief medical advisor, told NPR Tuesday
    about the Covid delta variant.

    “This is not the original virus that we were dealing with. This has different
    capabilities much more efficient in transmitting from person to person,” he said,
    explaining why the Centers for Disease Control and Prevention’s changed its mask
    guidelines.

    Fauci said the CDC reversed its mask guidance on Tuesday — recommending that
    fully vaccinated people go back to wearing masks indoors in places where there are
    high transmission rates — because delta is now the dominant strain in the U.S. In
    May, when the CDC announced that fully vaccinated people could ditch their masks,
    the more transmissible delta variant only represented about 1-2% of infections in the
    U.S.

    Delta is highly transmissible and acts “uniquely differently from past strains of the
    virus,” CDC director Rochelle Walensky said during a call with reporters Tuesday.

    Research suggests that delta is as much as 60% more transmissible than the
    previously dominant alpha variant.

    And “we know now as a fact that [vaccinated people with Covid] are capable of
    transmitting the infection to someone else,” Fauci told NPR.


    Breakthrough infections, although rare, occur when a vaccinated person is infected
    with the virus. It had been unclear whether a vaccinated person would have enough
    virus in their system to pass it to others. But new data suggests that, yes, fully
    vaccinated people who are infected with the delta variant can transmit the virus to
    other people, Walensky said.

    So the CDC recommends that even people who are fully vaccinated mask up
    indoors if they live in places where there is “substantial transmission” (counties that
    have 50 to 100 cases per 100,000 residents over a seven-day period) or “high
    transmission” (more than 100 cases per 100,000 people over seven days). Choose

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    your state and county on this CDC map to determine whether you need to wear a
    mask in your area.

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    Don’t miss: Covid immunity is about more than antibodies — here’s what else helps
    protect you




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         How this brother-sister duo brings in $105K a year making Mexican-American candy




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    3
                had no need for money’




    4           This 27-year-old former stock trader earns $650,000 a year in LA—and
                she’s on her way to $1 million




    5           This ‘Shark Tank’ side hustle had almost zero revenue — here’s why Mark
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